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     Sar11h Michelle Gilbert
     (212) 195-4226                                                              ·,ECTRO:-lICALLY FILf D ii
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     SGllbert@crOwell.com                                                            ~# :
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   VIA FAX

   Honorable Chief Judge Colleen McMahon
   United States District Court
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   Southern District ofNew York                                                                  ..

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                     Re: Skylar Cunningham v. Pret A Manger (USA) Limited
                     Ca:!ie No: I :19-cv-02322-CM
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   Dear Judge McMahon:

           Pursuant to the Order Scheduling an Initial Pretrial Conference (ECF No. IO) in the
   above-captioned matter, the parties jointly write to inform the Court that they have not reached
   an agreement with respect to a Civil Case Management Plan due to ongoing settlement
   discussions. Keeping in mind that the Initial Pretrial Confer.ence is set for August 9, 2019, the
   parties wi.11 either submit a conforming Case Management Plan by fax on or before August 7,
   2019, or otherwise e-file a letter-motion requesting adjournment of the Conference if needed.
   Counse 1 for both parties are in agreement on this matter.
              Thank you for your consideration.


                                                            Respectfully submitted,




                                                            Sarah M. Gilbert
                                                            Counsel for Defendant
                                                            Pret A Manger (USA) Limited
   cc; Counsel of Record via e-mail
